                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
              v.                              :         Case No. 1:22-cr-00166-BAH
                                              :
JOHN GEORGE TODD III,                         :
                                              :
                                              :
                      Defendant.              :




                       DEFENDANT JOHN TODD’S MOTION FOR TRIAL
                           BY MAGISTRATE JUDGE




       NOW comes Defendant, John George Todd III, by and through his counsel of record,

John M. Pierce, Esq., respectfully submits this request and waiver to this Honorable Court to

proceed to trial by magistrate judge of the district.

       John George Todd III was charged with violations of 18 U.S.C. § 1752(a) (1), and with

40 U.S.C. § 5104(e)(2)(D) and (G) by and through a criminal complaint filed on May 3, 2022.

       Pursuant to 18 U.S.C. § 3401, a defendant that is charged with only misdemeanor may

elect to expressly waive a trial, judgment and sentencing by a district judge and does so either in

writing or by oral motion on the record.

       Therefore, notice is hereby given that Defendant John George Todd III waives his right to

a trial, judgment, and sentencing by a district court judge and hereby elects to proceed to a trial

by a magistrate judge for the District of Columbia.




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Dated: November 04, 2022
                               Respectfully submitted,

                               /s/ John M. Pierce
                               John M. Pierce
                               John Pierce Law P.C.
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                               3rd Floor PMB #172
                               Woodland Hills, CA 91367
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                         CERTIFICATE OF SERVICE

I, John M. Pierce, hereby certify that on this day, November 04, 2022, I caused a
 copy of the foregoing document to be served on all counsel through the Court’s
                           CM/ECF case filing system.




                               /s/ John M. Pierce
                                 John M. Pierce




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